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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT
                          ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                              WE INFORM LLC, ET AL.
                                                           DEFENDANTS-APPELLANTS.


                  MOTION FOR EXTENSION OF TIME TO
                 FILE APPELLANTS’ JOINT REPLY BRIEF

      Pursuant to Federal Rule of Appellate Procedure 27 and Local Appellate

Rule 31.4, Appellants hereby move to extend the time to file their joint reply brief

by one week, to June 3, 2025. Appellants sought consent for this extension from

Appellees and Intervenor Attorney General of New Jersey (the “Attorney

General”). The Attorney General consented; Appellees have not responded.

Appellants have not requested any prior extensions in these cases.

      There is good cause for this extension. The 40 cases joined in these appeals

involve hundreds of thousands of claims seeking hundreds of millions of dollars.

The appeals challenge the constitutionality of the statute giving rise to those

claims, presenting a First Amendment question of first impression and deep
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significance. Recognizing the importance of the constitutional question presented,

on March 18, 2025, the Court agreed to consider the appeals under 28 U.S.C.

§ 1292(b) and set the appeals on an expedited schedule.

      In accordance with the expedited briefing schedule, Appellants filed their

joint opening brief on April 14. The response briefs of Appellees and the Attorney

General are due to be filed on May 12. Appellants anticipate that a number of

amici will seek leave to file briefs in support of Appellees on May 19. See FED. R.

APP. P. 29(a)(6). Under the current briefing schedule, Appellants’ reply brief is

due on May 27, just over a week after briefing supporting Appellees’ position has

concluded.

      Due to the importance of the issues presented by these appeals, the volume

of briefing to which Appellants must respond, and the need to coordinate among

dozens of Appellants represented by nearly 30 different law firms, Appellants

request an additional week to file their reply brief. This extension would not

prejudice Appellees or the Attorney General, who will have fully briefed their

arguments. Nor would this modest extension delay the disposition of the appeals,

as the Court would have more than a month to review the briefing prior to the

week of July 7, when the appeals are scheduled to be submitted to a merits panel.




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       Accordingly, Appellants respectfully request that the Court extend the time

to file their joint reply brief to June 3, 2025.

Dated: May 7, 2025                        Respectfully Submitted,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and

Local Appellate Rule 31.1, I hereby certify that:

      1.      The foregoing Motion complies with the type-volume limitation of

Fed. R. App. P. 27(d)(2), because, according to the word count of the word-

processing system used to prepare the Motion, the Motion contains 360 words,

excluding the signature blocks and certificates of counsel;

      2.      The foregoing Motion complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface, 14-point

Times New Roman font;

      3.      The text of the electronic Motion and the text of any paper copies to

be filed with the Clerk are identical; and

      4       The PDF file of this Motion has undergone a virus check using

Windows Defender Advanced Threat Protection Antivirus, Version 1.427.618.0,

last updated on May 4, 2025 at 5:14 a.m., and no virus was detected.

      This 7th day of May, 2025.

                                                        /s/ Stephanie L. Jonaitis
                                                        Stephanie L. Jonaitis




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of May, 2025, I caused a true and correct

copy of this Motion for Extension of Time to File Appellants’ Joint Reply Brief to

be served via ECF using the CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.



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